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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF COLORADO
                   The Honorable Joseph G. Rosania

In re:                            )
                                  )
Gunsmoke, LLC                     ) Case No. 20-14962 JGR
                                  )
 EIN: XX-XXXXXXX                  )     Chapter 11
  Debtor                          )


              MOTION FOR RULE 2004 EXAMINATION OF DEBTOR


     Angry Beavers, LLC, Edward Klen and Stephen Klen, Creditors
and   Parties-in-Interest   (hereinafter   “Creditors”),   through
counsel, pursuant to Rule 2004 of the Federal Rules of Bankruptcy
Procedure, request this Honorable Court enter an Order authorizing
the taking of a Rule 2004 examination of          a Rule 30(b)(6)
representative of Debtor. As grounds therefore, Creditors state:


     1.   Gunsmoke, LLC (“Debtor”) commenced a Chapter 11
Subchapter V case by filing its Voluntary Petition on July 22,2020
(the “Petition Date”) and continues as a Debtor-in-Possession.

     2.   Angry Beavers, LLC has a secured claim against Debtor
Happy Beavers, LLC in the amount of at least $300,000.00 pursuant
to a Note executed by Debtor and secured by a Deed of Trust on
certain real property owned by the Debtor and commonly known as
697 N. Denver Ave., #128, Loveland, CO 80538 . The Deed of Trust
also contains an assignment of rents which rents are cash
collateral. See Notice Pursuant to 11 U.S.C. § 546 (b) (Doc. 40)
and Objection to Debtor’s Motion to Use Cash Collateral (Doc. 60).


      3. Edward Klen and Stephen Klen(“ the Klens”) have claims
against Gunsmoke, LLC (Debtor in Case No. 20-14962 JGR) and Armed
Beavers, LLC (Debtor in Case No. 20-14963 JGR) pursuant to promissory
notes executed by Gunsmoke, LLC and Armed Beavers, LLC . Gunsmoke,
LLC and Armed Beavers, LLC owe the Klens at least $1,383,987.00.


     4.    Richard Weingarten, a 50% Member of the Debtor, and Chee
Wei Fong, a 50% Member of the Debtor Happy Beavers, LLC and Debtor
Armed Beavers, LLC , each have personally guaranteed the notes
executed by Debtor, Gunsmoke, LLC, and Armed Beavers, LLC in favor
of Angry Beavers, LLC and the Klens. Armed Beavers, LLC is the
Managing Member of Gunsmoke, LLC, and acts through Richard
Weingarten and Chee Wei Fong, Members.

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     5. The §341 Meeting of Creditors was held on August 18,2020
and continued to September 16,2020. The schedules and Statement
of Financial Affairs filed by each of the Debtor are woefully
inaccurate and materially incomplete. The Debtors have indicated
they intend to amend them.

     6.    Creditors require the ability to examine each of the
Debtors regarding any transfer by each of        the Debtors of any
payments, salaries, bonuses, expense reimbursements, dividends,
distributions, capital infusion and any returns to the Members, as
well as to investigate the facts and circumstances surrounding each
of the Debtor’s operation of its business and its value of scheduled
real and personal property of each of the Debtors, including but not
limited to the real property where Debtor operates its business at 697
N. Denver Ave., #128, Loveland, CO 80538; any attempts to sell the
real property, fixtures, and other assets, including valuations,
methods and opinions of value, how the listing price was arrived
at, potential buyer responses, and ongoing viability of sales
efforts; sales and valuation of inventory owned by Debtor Gunsmoke,
LLC; and accounts receivable and memberships claimed by Debtor Armed
Beavers, LLC and to review documents to be produced by each of the
Debtors and the other two Debtors, relating to the acts, conduct,
property, liabilities, budgets, monthly financial reports and
financial condition of each of the Debtor(s); to the operation of
the Debtors’ businesses and the desirability of their continuance;
the source of any money or property acquired or to be acquired
by each of the Debtors for the purposes of consummating a plan and
the    consideration given or offered therefor, and to any other
matter which may affect the administration of the case or to the
formulation of a plan; and to each of the Debtors’ right to a
discharge and the dischargeability of certain debts.

     7.   In order for Creditors to conduct a meaningful 2004
examination, it is necessary that each Debtor produce the documents
on Exhibit A no later than September 29,2020 and to conduct the
examination by remote means through A/B Litigation Services on
October 6,2020 at 9:00 a.m., prevailing Mountain time .

     8.   The undersigned will also attempt, as necessary, to
coordinate such examination and production of documents with
Debtors’ counsel.




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9.   PLEASE TAKE FURTHER NOTICE that pursuant to Federal Rule
     30(b)(6), as applied by Federal Rule of Bankruptcy Procedure
     9014 (c) and 7030, Debtor is required to designate one or more
     officers, directors, managing agents, members or other persons
     who consent to testify on behalf of each Debtor(s) with regard
     to the subject matters described in Exhibit B attached hereto.
     Creditors respectfully request that by 4:00 p.m. (prevailing
     Mountain Time) on October 2,2020, Debtor provide the following
     information to the undersigned counsel via electronic mail to
     nmiller@nemirowperez.com and Ingrid.defranco@gmail.com :

     •   the name and title/position of each designated witness, and

     •   the specific subject matter(s) upon which each designated
         witness will testify.

     WHEREFORE, Creditors pray this Honorable Court enter its Order
authorizing their counsel, Nancy D. Miller and Ingrid DeFranco, to
take a Rule 2004 examination of a Rule 30(b)(6) Representative(s)
of each of the Debtors on the subject matters so designated, and
documents to be produced by Debtor and require each of the Debtors
to appear and be examined, under     each oath, at the offices of
Debtors’ attorney on October 6,2020 at 9:00 a.m., by remote means
using the services of A/B Litigation Services, or at such time as
the parties otherwise agree, and to produce to the undersigned
counsel documents on or before September 29,2020 in preparation of
said examination, in accordance with Rule 2004(c) and Fed.R.
Bank.Pro. 9016 and L.B.R.   2014-1.

      DATED this 12th day of September 2020.
                                 NEMIROW PEREZ, P.C.

                                 BY: s/Nancy D. Miller
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                                            &
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                                  ATTORNEYS FOR ANGRY BEAVERS, LLC;
                                  EDWARD KLEN; and STEPEHEN KLEN



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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of September 2020 I
 caused a true and correct copy of the foregoing MOTION FOR RULE
 2004 EAMINATION OF THE DEBTOR to be served on the following via
 CM/ECF:

 Gerald L. Jorgensen
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                                   s/Nancy D. Miller


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